                                                                                                      Form:nthrgBK

                               UNITED STATES BANKRUPTCY COURT
                                     Eastern District of Michigan
                                        211 West Fort Street
                                          Detroit, MI 48226


                                         Case No.: 18−51298−pjs
                                                Chapter: 7
                                         Judge: Phillip J Shefferly
In Re: (NAME OF DEBTOR(S))
   Joanne E Ackerman
   1916 Norvel Road
   Grass Lake, MI 49240
Social Security No.:
   xxx−xx−0928
Employer's Tax I.D. No.:


                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that the HEARING to consider and act upon the following:

31 − Application to Employ BK GLOBAL REAL ESTATE SERVICES as Real Estate Services Filed by Trustee
Douglas Ellmann (Ellmann, Douglas)

will be held on: 6/28/19 at 09:30 AM at Courtroom 1975, 211 West Fort Street Bldg., ACROSS THE STREET
FROM FEDERAL BUILDING, Detroit, MI 48226

Dated: 6/4/19
                                                              BY THE COURT

                                                              Katherine B. Gullo, Clerk of Court
                                                              U.S. Bankruptcy Court




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